     Case 3:19-bk-30822 Doc 108-8 Filed 10/11/19 Entered 10/11/19 14:47:50 Desc
Exhibit - H - Redacted Settlement Agreement between Tagnetics and Kayser Ventur Page 1 of 6




                         SETTLEMENT AND MUTUAL QENERAL RELEASE AGREEMENT .

                      This SETTLEMENT AGREEMENT AND RELEASE (!he "Agreemene'), Is en~red
               ioto by and between TAONE1'1CS, INC. ("Tagnetios"), on the one hand, and KAYSER
               VENTURES, LTO. ("K VL"), g.TEK, INC. ("S·Tek"), and ROBERT STRAIN ("Strain") on the
               other hand. Each individual or emily entering into this Agreement may be referred to herein as
               a "Party" and, ~olfectively, as the "Parties,"

                       WHEREAS, KVL. S·Tek, and Stl'aln, along with Kenneth Kayser, Ronald Earley, and
               Jonathan Hager, tiled an Involuntary bankruptcy proceeding imderChapter7 oftbe United States
               Bankruptcy Code against Tagnetics In the United Stales Bankruptcy Court for the Soulltem
               District or Ohio {Western Division at Dayton), olleslns they are creditors ofTiigncticS, In a case
               stylcd,In re Tagnelic•, Case No. 19·30822 (hereinafter the "Bankruptcy Proceeding").

                      WHEREAS, Tagnedcs disputes the existence andloralllQunts ofliabilily claimed by each
               of the allesed creditors in the Bankruptcy Proceeding, including $pe<liliCally each t;Cihe alleged
               creditors that are Parties to this Agreement.

                        WHEREAS, the Parties di!$lre to avoid the greater expense and burden associated wilh
               lltignting the Bankruptcy Proceedins and have decided to comprom lse and settle their dispntes,
               claims, and potential eialms.

                      NOW, Tl-IERilFORE, in consideration of the promises, representations, covenants, and
               wammties conmined herein, and other good and valuable considemtion, the receipt and adequacy
               of which Is ackn<>wledged by each of the Parties, who intend to be legally bound by this
               Agreement, the Panics state and agree as follows:




                                                                                                                    EXHIBIT

                                                                                                                      H
     Case 3:19-bk-30822 Doc 108-8 Filed 10/11/19 Entered 10/11/19 14:47:50 Desc
Exhibit - H - Redacted Settlement Agreement between Tagnetics and Kayser Ventur Page 2 of 6




                       5.      KVL Releam. In exchange for the con:slde:mti•on d1escribed
               Ventures, Ltd., on Its own behalf and oit behalf of its current and fonncr parent cotnplmle:s,
                                                                                                        or
               (Orporate and operating affiliates, subsidiaries, and related entitles, as well as each their
               current and fonner dlreetors, offn:ers, sharcbillders or other equity holders, agents. employees,
               accounlllnts, attorneys, artd lnsure<s, hereby releases and discharges Tagnetlcs, as well as Its
               current ond former parent companies, corporate and operating affiliates, subsidiaries, and related
               entities (including specifically Compass Marketing, Inc.), as weli as ench of their <:urrent and
               fonncr directors, officers, shareholders or o!her equity billders,                    accountants,
               att(>mc:vs. and insurers                the "Tagnetlcs
     Case 3:19-bk-30822 Doc 108-8 Filed 10/11/19 Entered 10/11/19 14:47:50 Desc
Exhibit - H - Redacted Settlement Agreement between Tagnetics and Kayser Ventur Page 3 of 6




                        6.      S-Tel< Re!•M· ln.exchange for !he eonsldenulon described herein, S..Tek, Inc.,
               on its own behalf and on behalf of Its cummt and fonncr parent companies, oorporatc and
               operating affiliates, subsidiorles, and related entitles, as well as each of !heir cummt and former
               dire<:tors, officers, shareholders or other oqull)l holders, agents, employee$, accoufitants,
               attorneys, and Insurers, hereby reie~~SCs and disebarges Tagnetles, as well as Its current and
               fonner parent CQmpanles, corporate and operaling affiliates, su~sidiarles, and related entities
               (Including specifically Compass Marketing, Ino.), as well as each of their current and former
               directors, officers, shareholders or other               holders,




                        7.      §train Releases. In exchange for the consideration described herein, Robert
               Strain, on his own behalf and on behalf his heirs, Sllecessors, and assigns, hereby releases and
               di5cbarges Tagnetics, as well as Its current and fonner parent C<lmpanies, torporate and operating
               affiliates, subsidiaries, and related entities (including specifically Compass Marketing, Inc.}, as
               well as each of their current and former directors, officers, shareholders or other equity holders,
               agents,                                              and insurers                 the "Tagnetics
     Case 3:19-bk-30822 Doc 108-8 Filed 10/11/19 Entered 10/11/19 14:47:50 Desc
Exhibit - H - Redacted Settlement Agreement between Tagnetics and Kayser Ventur Page 4 of 6




                                            4
     Case 3:19-bk-30822 Doc 108-8 Filed 10/11/19 Entered 10/11/19 14:47:50 Desc
Exhibit - H - Redacted Settlement Agreement between Tagnetics and Kayser Ventur Page 5 of 6




                         [This space left blank intentionally -sec noXIP•!!• forsl11natures]
     Case 3:19-bk-30822 Doc 108-8 Filed 10/11/19 Entered 10/11/19 14:47:50 Desc
Exhibit - H - Redacted Settlement Agreement between Tagnetics and Kayser Ventur Page 6 of 6




                       By !heir signatures below, lhe Parties hereto agree to and confirm that they ate bound by
               the terms. oftbia A81"11ment




               ROBERT STRAIN




                                                           6
